 Case 2:12-cr-00453-ES         Document 208        Filed 03/17/14     Page 1 of 1 PageID: 827


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,                     :             Crim. No. 12-453-13 (FSH)

                  v.                           :             ORDER

 KAE-WON JHO                                   :

                       Defendant.              :

        This matter having come before the Court on the Report and Recommendation of the United

 States Magistrate Judge filed in this matter, which was submitted as a result of this Court having

 referred this cause to the Magistrate Judge for the purpose of conducting a plea proceeding under

 Fed. R. Crim. P. 11; and the defendant having consented to the Magistrate Judge conducting the

 guilty plea proceeding; and the Court having reviewed the Report and Recommendation, as well as

 the transcript of the proceedings on January 14, 2014, and there being no objection to the Report

 and Recommendation timely filed pursuant to 28 U.S.C. 636(b); and the Court finding the Report

 and Recommendation is neither clearly erroneous nor contrary to law; and the Court hereby finding

 that the Report and Recommendation should be approved and adopted and the defendant’s guilty

 plea accepted,

        IT IS ON THIS 1 7 t h day of March, 2014,

        ORDERED that the Report and Recommendation of the United States Magistrate Judge is

 approved and adopted; and

        IT IS FURTHER ORDERED that the defendant’s guilty plea is accepted and a judgment

of guilt to Count One of the Information shall be entered.


                                                             s/ Faith S. Hochberg
                                                      UNITED STATES DISTRICT JUDGE
